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 7
 8                                UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
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11   JONELLE LEWIS, on behalf of herself and
                                          )           Case No. 2:07-CV-00490-MCE-DAD
     all others similarly situated,       )
12                                        )           CLASS ACTION
                 Plaintiff,               )
13                                        )           ORDER GRANTING PLAINTIFF’S
     vs.                                  )           MOTION FOR FINAL APPROVAL OF
14                                        )           CLASS ACTION SETTLEMENT
     STARBUCKS CORPORATION,               )
15                                        )           Date: December 5, 2008
                 Defendant.               )           Time: 9:00 a.m.
16                                        )           Ctrm: 7
     ____________________________________ )
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18
19          On December 5, 2008, a hearing was held on the motion of plaintiff Jonelle Lewis
20   (“Plaintiff”) for final approval of the class action settlement reached with defendant Starbucks
21   Corporation (“Starbucks”) that was preliminarily approved by the Court on September 11, 2008
22   (the “Settlement”). The Court having read and considered the papers on the motion, the
23   arguments of counsel, and the law, and good cause appearing therefore, Plaintiff’s motion is
24   hereby GRANTED and IT IS ORDERED that:
25          1.      The Court hereby GRANTS final approval of the Settlement. The Court finds that
26   the terms of the Settlement are fair, reasonable and adequate under Rule 23(e)(2) of the Federal
27   Rules of Civil Procedure, the Settlement was reached as a result of arms-length negotiations after
28   sufficient investigation and discovery, and that class members were given notice of the Settlement,
                                                      1
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 1   which advised them of their right to object to the Settlement, in a reasonable manner. No
 2   objections to the settlement were received by the court prior to the hearing and no one appeared
 3   at the hearing in opposition to the proposed settlement.
 4          2.      The Court hereby certifies finally and solely for the purpose of settlement a class
 5   consisting of “all persons employed by Starbucks in the job categories of shift supervisor, assistant
 6   store manager, or store manager within the state of California during the period from March 12,
 7   2003 until March 19, 2008.” The Court finds that the settlement class satisfies the applicable
 8   criteria for class certification under Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil
 9   Procedure.
10          3.      The Court hereby directs payment to the Settlement Administrator from the
11   settlement funds for its fees and expenses in accordance with the Settlement.
12          4.      The Court hereby directs that the Settlement Administrator distribute settlement
13   benefits to claimants from the settlement funds in accordance with the Settlement.
14          5.      The Court hereby awards Plaintiff’s counsel attorney’s fees and costs in the
15   amount of $750,000 to be paid from the settlement funds.
16          6.      The Court hereby awards an incentive payment to Plaintiff to be paid from the
17   settlement funds in the amount of $5,000.
18          7.      The Court hereby directs the Settlement Administrator to make payment from the
19   settlement funds to the Labor Workforce and Development Agency in the amount of $25,000.
20          8.      The Court hereby dismisses Plaintiff’s claims against Starbucks with prejudice.
21          9.      The Court hereby orders that class members who did not timely exclude
22   themselves from the Settlement have released their claims against Starbucks as set forth in the
23   Settlement.
24          10.     The Court hereby orders that class members who did not timely object to the
25   Settlement are barred from prosecuting or pursuing any appeal of the Court’s order granting final
26   approval to the Settlement.
27   ///
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 1          11.     The Court hereby directs that the clerk of the Court enter the Court’s order as a
 2   final judgment; and
 3          12.     The Court hereby orders that, without affecting the finality of the final judgment, it
 4   reserves continuing jurisdiction over the parties for the purposes of implementing, enforcing
 5   and/or administering the Settlement or enforcing the terms of the judgment.
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 7
      Dated: December 10, 2008
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                                                   ________________________________
 9                                                 MORRISON C. ENGLAND, JR.
                                                   UNITED STATES DISTRICT JUDGE
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